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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

 Criminal Case No. 14-cr-00231-WJM

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 1.     RICKY GARRISON,
         a/k/a “G,”
 2.     JAMES TILLMON,
         a/k/a “Black,”
         a/k/a “Kevin Garner,”
 3.     CHRISTOPHER MARTINEZ,
         a/k/a “Little C,”
 4.     FRANCISCO AGUILAR,
 5.     SIMEON RAMIREZ,
 6.     CHRISTOPHER VIGIL,
 7.     TRAVIS EDWARDS,
 8.     DONDRAI FISHER,
         a/k/a “Abdul Halim Aswad Ali,”
         a/k/a “Don Blas,”
 9.     ARCHIE POOLE,
 10.    LUIS RAMIREZ,
         a/k/a “Julian,”
 11.    MELVIN TURNER,
         a/k/a “Mellow,”
 12.    SHAWN BEARDSLEY,
 13.    SIDNEY TAYLOR,
 14.    GREGORY WILLIAMS,
 15.    ROBERT PAINTER, and
 16.    LATOYA WIMBUSH,

        Defendants.


                      MOTION TO RESTRICT DOCUMENT DOC. NO. 1303


        The United States of America, by and through Acting United States Attorney Robert C.

 Troyer and the undersigned Assistant United States Attorney, respectfully moves to restrict Doc.
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 No. 1303, any order revealing the contents of that document, and the brief filed in support of this

 motion, for the reasons stated in the brief filed in support of this motion. The United States

 requests a “Level 2" Restriction which would make the document, any order revealing the

 contents of that document, and the brief filed in support of this motion, “Viewable by Selected

 Parties & Court” only.

        Respectfully dated this 14th day of March, 2017.

                                                      ROBERT C. TROYER
                                                      Acting United States Attorney


                                               By:    s/Zachary Phillips
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                                                      Assistant United States Attorney
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                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 14th day of March, 2017, I electronically filed the foregoing
 MOTION TO RESTRICT DOCUMENT DOC. NO. 1303 using the CM/ECF system which
 will send notification of such filing to all counsel of record in this case.



                                               s/Maggie E. Grenvik
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